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6

7
                            IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
8
     In re:                                                  In Proceedings Under Chapter 7
9

10
                                                             Case No.: 2:19-bk-08634-MCW
     DANIEL M. HENDERSON and
11   KATHRYN T. HENDERSON,                                   OBJECTION TO MOTION FOR
                                                             RELIEF FROM AUTOMATIC STAY
12
                           Debtors.
13

14   D Nationstar Mortgage LLC d/b/a Mr. Cooper, its
15
     assignees and/or successors,

16                          Movant
     vs.
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     Daniel M. Henderson and Kathryn T.
     Henderson, Debtors; Dina Anderson, Chapter 7
19   Trustee,
                           Respondents.
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              COMES NOW Debtors, by and through undersigned counsel and object to the Motion for Relief
23
     from the Automatic Stay filed by Nationstar Mortgage LLC d/b/a Mr. Cooper (“Movant”) on the basis
24   that the Debtors have been approved by Movant for a Loan Modification. An Affidavit to this effect by
25   Daniel Henderson is attached as Exhibit 1. Paperwork from Movant approving the Loan Modification
26   was not provided to the Debtors on account of their bankruptcy. Counsel for Debtors is attempting to
27   acquire this paperwork.

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            WHEREFORE, Debtors object to the Movant’s Motion for Relief from the Automatic Stay and
1
     move this Honorable Court to deny Movant’s Motion.
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3
     Dated: September 14, 2019                        /s/Jacob Goodman #028816
4                                                     Attorney for Debtors
5    A copy of the foregoing was mailed
     On September 16, 2019 to:
6

7    Kristin McDonald, Esq. (027082)
     LAKSHMI JAGANNATH
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     McCARTHY & HOLTHUS, LLP
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     Scottsdale, AZ 85258
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     DINA ANDERSON
11
     21001 N. TATUM BLVD., #1630-608
12   PHOENIX, AZ 85050

13   U.S. TRUSTEE
     OFFICE OF THE U.S. TRUSTEE
14
     230 NORTH FIRST AVENUE
15   SUITE 204
     PHOENIX, AZ 85003
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